            Case 1:21-cr-00377-BAH Document 29 Filed 01/18/22 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
v.                                            :       Case No. 1:21-CR-00377- BAH
                                              :
                                              :
ANTHONY ROBERT WILLIAMS,                      :
                                              :
                                              :
                                              :
                       Defendant.             :

                                    JOINT STATUS REPORT


       Pursuant to the Court’s Order, the United States and Defendant Anthony Robert Williams

provide the following Joint Status Report:

       a.       Possibility of Early Resolution

       The parties have discussed the possibility of an early resolution of this case without trial.

However, Mr. Williams has rejected the plea agreement proposed by the United States.

       b.       Speedy Trial Act

       The parties stipulate and agree that the Court should find that the time between January

21, 2022 and the trial of this matter shall be excluded under the Speedy Trial Act, in the interests

of justice. The Court should find that period of time excludable under 18 U.S.C. § 3161(h)(1) &

(7)(A). The ends of justice served by the granting of such continuance outweigh the best interests

of the public and the defendant in a speedy trial, for reasons including that Mr. Williams and his

counsel have sufficient time to review the discovery in this case and fully prepare for trial.




                                                  1
            Case 1:21-cr-00377-BAH Document 29 Filed 01/18/22 Page 2 of 4




       c.       Motions Schedule

       The parties agree that the deadline for the parties to file pretrial motions is April 18,

2022. The parties must file their respective responses by April 29, 2022.

       d.       Trial

       The parties believe that this case will require a jury trial that may take four to five days.

The parties propose trial to commence on June 27, 2022; July 11, 2022; or September 19, 2022.




                                              Respectfully submitted,

                                              FEDERAL COMMUNITY DEFENDER

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                                                  2
Case 1:21-cr-00377-BAH Document 29 Filed 01/18/22 Page 3 of 4




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                              3
Case 1:21-cr-00377-BAH Document 29 Filed 01/18/22 Page 4 of 4




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